               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:09 MJ 48-1


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
BOBBY ALLEN GIBSON,                           )
                                              )
                 Defendant.                   )
____________________________________          )


      THIS CAUSE coming on to be heard and being heard before the undersigned,

Dennis L. Howell, United States Magistrate Judge for the Western District of North

Carolina, upon a Violation Report filed in this cause on September 23, 2009 by the

United States Probation Office. In the Violation Report, the United States Probation

Office alleges that the defendant violated the terms and conditions of his pretrial

release. At the call of this matter for hearing, the defendant was present with his

counsel, Janna Dale Allison, and the government was represented by Assistant United

States Attorney, David Thorneloe.       From the evidence offered and from the

statements of the Assistant United States Attorney and the attorney for the defendant,

and the records in this cause, the court makes the following findings.

      Findings: At the call of the matter, the defendant, by and through his attorney,

admitted that he had violated the terms and conditions of his pre-trial release as set




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forth in allegations #2 and #3 of the Violation Report, and the defendant denied that

he had violated the terms and conditions as set forth in #1of the Violation Report. All

of these allegations are contained in the Violation Report filed on September 23,

2009. Testimony was then presented by the government through Robert T. Ferguson,

United States Probation Officer.

      The defendant was charged in a Bill of Information filed on July 1, 2009 with

one count of Knowingly Attempting to Acquire Wildlife, that is an American Black

Bear, in violation of 16 U.S.C. § 3372(a)(4) and 3373(d)(2), a Class A Misdemeanor.

A hearing was held before the undersigned on July 31, 2009. On that date, the

undersigned entered an order releasing the defendant on a $15,000 unsecured bond.

The undersigned further set conditions of release as follows:

      (1)    That the defendant not violate any federal, state, or local law while on

             release in this case;

      (8)(a) That the defendant report to the Office of Probation and Pre-Trial

             Services to the extent and in the manner that the agency determines to

             be appropriate;

      (8)(p) That the defendant refrain from the use or unlawful possession of a

             narcotic drug or other controlled substance as defined in 21 U.S.C. §

             802, unless prescribed by a licensed medical practitioner;

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      (8)(u) That the defendant report as soon as possible, to the Pre-Trial Service

             Officer or Supervising Officer, any contact with any law enforcement

             personnel, including, but not limited to, any arrest, questioning or traffic

             stop.

      On August 18, 200, United States Probation Officer Robert Ferguson contacted

the defendant by telephone and left a message on the defendant’s telephone advising

that Officer Ferguson would be at the defendant’s home on the next day, August 19,

2009, so that Officer Ferguson could complete a scheduled initial home assessment.

On August 19, 2009, Officer Ferguson called the defendant on the telephone to get

directions to the defendant’s residence. The defendant told Officer Ferguson in

response to the call that he was not at home and that he was working at a “odd job.”

The defendant was not present and Officer Ferguson could not complete the initial

home assessment as he desired to do.

      On September 21, 2009, Officer Ferguson ran a record check that showed that

the defendant had been arrested on September 4, 2009 in Jackson County, North

Carolina for misdemeanor possession of drug paraphernalia and felony possession of

a schedule II controlled substance, that substance being methamphetamine. The

defendant did not report this arrest to Officer Ferguson.

      Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

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shall enter an order of revocation and detention if, after a hearing, the judicial officer

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        (1)    finds that there is----
               (A) probable cause to believe that the person has committed a
        Federal, State, or local crime while on release; or
               (B) clear and convincing evidence that the person has violated any
         other condition of release; and
        (2) finds that ---
               (A) based on the factors set forth in section 3142(g) of this title, there
        is no condition or combination of conditions of release that will assure that the
        person will not flee or pose a danger to the safety of any other person or the
        community; or
               (B) the person is unlikely to abide by any condition or combination
        of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”


        Based upon the evidence, the undersigned finds there is probable cause to

believe that the defendant has committed a federal and state crime while on release.

It is alleged that the defendant possessed methamphetamine and drug paraphernalia.

That possession violated both federal and state law. Possession of methamphetamine

is a misdemeanor under federal law.          21 U.S.C. § 844.         The possession of

methamphetamine is a felony under state law. N.C.G.S. § 90-95(a)(3). Due to the

fact that there is probable cause to believe that the defendant committed a state

felony, a rebuttable presumption arises pursuant to 18 U.S.C. 3148, that no condition

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or combination of conditions would assure that the defendant would not pose a

danger to the safety of any other person or the community.

      It has further been shown by clear and convincing evidence that the defendant

did not report to the Office of Probation and Pre-Trial Services to the extent and in

the manner that that agency determines to be appropriate.

      It has further been shown by clear and convincing evidence that the defendant

did not report his arrest on the charges of possession of methamphetamine or

possession of drug paraphernalia to Officer Ferguson as soon as possible, as he was

required to do.

      Due to the findings made above and further considering the presumption that

has been created and also considering the factors as set forth under 18 U.S.C.

§ 3142(g), it appears there is no condition or combination of conditions of release that

would assure that the defendant would not pose a danger to the safety of any other

person or the community. It is the opinion of the undersigned that based upon the

defendant’s actions that it is unlikely that the defendant will abide by any condition

or combination of conditions of release. As a result of the above referenced findings,

the undersigned has determined to enter an order of revocation revoking the

unsecured bond and the terms of pretrial release previously issued in this matter and

entering an order detaining the defendant.




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                                    ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED that the defendant be detained pending further sentencing and

proceedings in this matter.



                                        Signed: October 1, 2009




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